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                       1 J. TONY SERRA #32639
                           SHARI L. WHITE #180438
                       2 506 Broadway
                           San Francisco CA 94133
                       3 Telephone: 415/986-5591

                       4 Attorneys for Defendant
                           ETHAN STUART
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                       8                        UNITED STATES DISTRICT COURT

                       9                       EASTERN DISTRICT OF CALIFORNIA

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                      11 UNITED STATES OF AMERICA,

                      12              Plaintiff,                    CR 12-0076 WBS

                      13        v.                                  STIPULATION AND ORDER
                                                                    CONTINUING STATUS CONFERENCE
                      14 SEAN FARRELL and ETHAN STUART,             AND EXCLUDING TIME
                                                                    Date: July 23, 2012
                      15              Defendants.                   Time: 9:30 a.m.
                                                            /
                      16

                      17        Defendants SEAN FARRELL and ETHAN STUART, by and through

                      18 their attorneys, and plaintiff United States of America, by and

                      19 through its attorney, hereby stipulate and agree that the status

                      20 conference of July 23, 2012, should be continued to September

                      21 10, 2012, at 9:30 a.m.

                      22        The parties believe a continuance of the status conference

                      23 will conserve judicial resources by eliminating an unnecessary

                      24 status conference because the defense counsel are continuing

                      25 ongoing investigation of the case and reviewing discovery

                      26 produced by the United States.         This extension will give all the

                      27 parties additional time to evaluate whether the defense will
LAW OFFICES
506 BROADWAY          28 file any relevant motions, seek a proposed resolution of the
SAN FRANCISCO
  (415) 986-5591
Fax: (415) 421-1331

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                       1 case by guilty pleas, or proceed to a trial at a future date.

                       2 For these reasons, the parties respectfully request that the

                       3 Court vacate the July 23, 2012 status conference date and set a

                       4 new status conference date of September 10, 2012, at 9:30 a.m.

                       5 If the Court grants this request, the parties believe it will

                       6 promote judicial economy while the parties get closer to either

                       7 setting motions to be filed, reaching resolution of the case, or

                       8 setting a trial date.

                       9        The parties further stipulate and agree that the defendants

                      10 and defense counsel will benefit greatly from the additional

                      11 time between July and September in order for the defense to

                      12 effectively evaluate the posture of the case and prepare for

                      13 trial in this case and, in addition, in the interests of justice

                      14 under 18 U.S.C. § 3161(H)(8)(b)(iv) and Local Code T4.

                      15 Accordingly, the parties stipulate and agree that time should be

                      16 excluded under the Speedy Trial Act pursuant to 18 U.S.C.

                      17 §3161(h)(8)(B)(iv) and Local Code T4.

                      18        Dated:    July 19, 2012

                      19
                            /s/J. TONY SERRA                         /s/RANDOLPH E. DAAR
                      20 J. TONY SERRA                              RANDOLPH E. DAAR
                           SHARI L. WHITE                           Attorney for SEAN FARRELL
                      21 Attorneys for ETHAN STUART

                      22
                                                                     /s/JASON HITT
                      23                                            Assistant U.S. Attorney

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LAW OFFICES
506 BROADWAY          28
SAN FRANCISCO
  (415) 986-5591
Fax: (415) 421-1331

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                       1                                    ORDER

                       2         Pursuant to the stipulation of the parties and good cause

                       3 appearing, IT IS HEREBY ORDERED that:

                       4         1.     The status conference in this matter set for July 23,

                       5 2012, at 9:30 a.m. is VACATED;

                       6         2.     A new status conference is set for September 10,

                       7 2012, at 9:30 a.m.; and

                       8         3.     Based upon the representations and stipulation of the

                       9 parties, the Court finds that the time exclusion under 18 U.S.C.

                      10 § 3161(h)(8)(B)(iv) applies and the ends of justice outweigh the

                      11 best interest of the public and the defendants in a speedy

                      12 trial.       Accordingly, time under the Speedy Trial Act shall be

                      13 excluded from July 23, 2012, up to and including September 10,

                      14 2012.

                      15         IT IS SO ORDERED.

                      16         Dated:    July 20, 2012

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LAW OFFICES
506 BROADWAY          28
SAN FRANCISCO
  (415) 986-5591
Fax: (415) 421-1331

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